                                   Exhibit A
                           Summary of Responses and
                         Production by the City of Detroit




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                                                                               DWSD Trustee and Ad Hoc Committee's Requests for Production and City's Responses*
                                                                                                               (High Priority)

DWSD TRUSTEE &
                         DWSD TRUSTEE AND AD HOC
    AD HOC                                                                                CITY RESPONSE                                                    REVIEW OF DOCUMENTS                                                           RELEVANCE
                      COMMITTEE'S PRODUCTION REQUEST
 COMMITTEE'S #
                                                                                                                                                                                                               This will show the current rate design, how revenue is generated
                    Most recent cost of services study done by                                                                                                                                                 by class, and how costs are allocated. It will show whether DWSD
        10                                                                      Not aware of responsive documents                                           No documents provided
                         the City for each of the Systems                                                                                                                                                     is subsidizing retail consumers and show whether the Systems are
                                                                                                                                                                                                                             losing revenue and long-term stability.

                    Average and median bills by customer rate                                                                                                                                                  This will provide an understanding of historical rates for the City
        11           class (including surrounding counties and                                                                                              No documents provided                             and surrounding counties to complete a financial capacity analysis
                                        cities)                                                                                                                                                                             and determine the residential indicator.

                                                                    POA00245352, POA00245393, POA00245432, POA00245468,                    POA 00034480 regards alternatives for the parking system.           This will provide information related to labor projections and
                       Work by DWSD's rate consultant in
                                                                    POA00245504, POA00245542, POA00245582, POA00245620,                  POA0072756 was withheld on the basis of privilege. The other         optimum workforce and identify areas of excess capacity. It will
                      conjunction with DWSD's Root Cause
        13                                                          POA00245656, POA00245693, POA00214164, POA00216881,                    documents include OHM's CIP and the Conway MacKenzie                provide information related to capital expenditures and allow
                      Committee's Final Report, dated as of
                                                                    POA00216883, POA00216877, POA00216884, POA0072756,                   Presentation, which were previously provided. No outside rate            experts to prepare an efficiency study and more accurate
                                March 13, 2013
                                                                    POA00034480, POA00216881, POA00002851, POA00107044                                  consultant studies are included.                                              financial analysis.
                    Wholesale or retail customers or groups of
                                                                                                                                      The listed documents include OHM's CIP and the Conway MacKenzie
                    customers discontinuing use of the Systems                   e.g. POA00174802, POA00002851                                                                                             Individuals and classes moving out of the Systems impacts future
        14                                                                                                                           presentations. The CIP only references the departure of Flint/Genesee
                    and leading to a Material decrease in gross                           Search ongoing                                                                                                   revenues, which needs to be considered in any financial analysis.
                                                                                                                                            County. Otherwise, these documents are not responsive.
                                       revenue
                    Number of customer accounts by customer                                                                                                                                                   This will show existing and future revenues and growth by class to
        15          rate class for FY 2009-2013 and projections                                                                                             No documents provided                                validate current revenues and calculate accurate projected
                                  for FY 2014-2023                                                                                                                                                                                         revenues.
                                                                    POA00245352, POA00245393, POA00245432, POA00245468,                   POA 00034480 regards alternatives for the parking system.
                                                                    POA00245504, POA00245542, POA00245582, POA00245620,                POA0072756 was withheld on the basis of privilege. Aside from             Labor is the largest operating expense and impacts financial
                     Current and projected optimal employee
        18                                                          POA00245656, POA00245693, POA00214164, POA00216881,              employee headcount assumptions contained in the Model, CM Report,            analysis. Projections as to further decreases in employee
                                   headcounts
                                                                    POA00216883, POA00216877, POA00216884, POA0072756,                    and filings, no information is included on optimal employee                    headcount may further impact such analysis.
                                                                    POA00034480, POA00216881, POA00002851, POA00107044                                             headcount.
                                                                    POA00245352, POA00245393, POA00245432, POA00245468,
                                                                    POA00245504, POA00245542, POA00245582, POA00245620,                  POA 00034480 regards alternatives for the parking system.
                     Documents cataloging System assets and                                                                                                                                               Information related to depreciation and capital expenditures will
        19                                                          POA00245656, POA00245693, POA00214164, POA00216881,              POA0072756 was withheld on the basis of privilege. Aside from public
                        any monetization of the Systems                                                                                                                                                         allow experts to validate the maintence estimates.
                                                                    POA00216883, POA00216877, POA00216884, POA0072756,                      filings, none of these address specific System assets.
                                                                    POA00034480, POA00216881, POA00002851, POA00107044
                     Calculation and allocation of all pensions,                                                                       The E&Y "binder" has not been provided. These documents do not
                      OPEB, and any COPs-related payments                                                                             include historical data regarding the allocation of pension, OPEBs or
                                                                      Forthcoming in E&Y "binder" production, POA00258647-                                                                                      Historical information will be used to determine whether Plan
        20           assessed against the Systems historically                                                                        COPs-related expenses to specific funds. POA00257425 provides an
                                                                           POA00261019, POA00262497-POCA00262531                                                                                                and projection allocations are consistent with past practices.
                        and that are projected through any                                                                             allocation of the funds derived from the issuance of the COPs, and
                         projection period under the Plan                                                                                       other documents set forth Milliman's projections.
                                                                                     Data room and e.g.
                      Calculation of the GRS OPEB Claims as         POA00221713, POA00221757, POA00221628, POA00221580,                   Included in this set are the historical audits of PFRS and GRS.
        23             shown in the disclosure statement            POA00221670, POA00221261, POA00221802, POA00221533,                 POA00260664 provides support for the projected DWSD retiree            This allows parties to determine whether the amount has been
                                                                    POA00221411, POA00221212, POA00221310, POA00221360,                healthcare plan. None of the documents address the calculation of                              properly measured.
                                                                    POA00221542, POA00258647-POA00261019, POA00262497-                         OPEB Claims as shown in the disclosure statement.
                                                                                      POCA00262531
                                                                                     Data room and e.g.
                                                                                                                                         Included in this set are the historical audits of PFRS and GRS.
                                                                    POA00221713, POA00221757, POA00221628, POA00221580,
                   Total amount of the GRS's OPEB Claims paid                                                                           POA00260664 provides support for the projected DWSD retiree
                                                                    POA00221670, POA00221261, POA00221802, POA00221533,                                                                                        This allows parties to determine whether the amount has been
        24          or projected to be paid from the Petition                                                                          healthcare plan. None of the documents address the OPEB Claims
                                                                    POA00221411, POA00221212, POA00221310, POA00221360,                                                                                                               properly measured.
                            Date to the Effective Date                                                                                  paid or projected to be paid between the Petition Date and the
                                                                    POA00221542, POA00258647-POA00261019, POA00262497-
                                                                                                                                                                  Effective Date.
                                                                                      POCA00262531




*Requests on this page were highlighted as priority items by the DWSD Trustee and the Ad Hoc Committee. Yellow requests also were highlighted by the DWSD Parties as priority.

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                                                                    POA00245352, POA00245393, POA00245432, POA00245468,
                                                                                                                                           POA 00034480 regards alternatives for the parking system.
                                                                    POA00245504, POA00245542, POA00245582, POA00245620,
                     Any Material Capital Expenditures to be                                                                          POA0072756 was withheld on the basis of privilege. The documents       Future capital needs beyond the projected 10 years in the Plan
        27                                                          POA00245656, POA00245693, POA00214164, POA00216881,
                             funded after FY 2024                                                                                     provided include OHM's CIP, which is for FY 2013-2024. There are no    may impact the financial viability of the Systems going forward.
                                                                    POA00216883, POA00216877, POA00216884, POA0072756,
                                                                                                                                                     documents responsive to this request.
                                                                    POA00034480, POA00216881, POA00002851, POA00107044

                                                                                                                                                                                                             This will show what financial capacity analysis was completed by
                   DWSD hardship exemptions with the EPA or                                                                                                                                                   the City, provide inforamtion on affordability, and assist with
        29                                                                                                                                                  No documents provided
                    Michigan Dept. of Environmental Quality                                                                                                                                                 Capital Expenditure profiling based upon what the EPA has agreed
                                                                                                                                                                                                                                     to with the City.

                                                                                                                                                                                                            The departure of certain customers from the Systems would have
        35                                                                                                                                                                                                        a material adverse effect on revenue. Therefore, an
                    Rate-setting agreements and negotiations
         /                                                                                Search ongoing                                                    No documents provided                             understanding of the current commitments and the current
                         with all municipal counterparts
        57                                                                                                                                                                                                  dymanics and dialogue with counties on a year-to-year contract is
                                                                                                                                                                                                                                         crucial.
                     Prospect of forming or plan to form any
                                                                                       Some production and                                                                                                   Proposals may highlight operational inefficiencies or projection
        36          regional authority or private enterprise to                                                                                             No documents provided
                                                                                         Search ongoing                                                                                                                               anomalies.
                    operate, manage, and/or own the Systems
                       Documents made available to parties
                                                                                                                                                                                                            Term sheets may provide data points in determining whether the
        55              participating the in the Request for                                No response                                                     No documents provided
                                                                                                                                                                                                                   interest rate reset was calculated appropriately.
                        Proposal for Underwriting Services




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